Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page1of12

Daniel White

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Monday, April 28, 2025 RECEIVED INTHE CHAMBE RSOF

EL) Es HOLLANDER
The Honorable David Garcia
Judge, Will County Circuit Court J UN. 06 2025
Will County Court House
UNI
100 West Jefferson Street TED STATES DISTRICT JUOGE

Joliet, Ilinois 60432 ~
Re: Estate of David Boshea — Response to Judge Hollander’s Correspondence
Dear Judge Garcia:

I write in response to the recent letter from Judge Hollander regarding the estate of David
Boshea. I fully agree with Judge Hollander’s position and respectfully submit the following
clarifications and disclosures for the Court’s consideration.

First, I unequivocally renounce any personal iterest in the estate of David Boshea.
Additionally, on behalf of Compass Marketing, Inc., I confirm that the company has no rightful
interest or claim to any part of Mr. Boshea’s estate. Neither I nor Compass Marketing, Inc. object
to the appointment of David Boshea’s daughter, Ashley, as the administrator of his estate. Over
the thirty years I knew David, he consistently spoke with immense pride about Ashley, her sister,
and their mother, and openly expressed his deep love for them. J find any objection to her
appointment, particularly by an attorney purporting to represent Compass Marketing, Inc., to be
not only meritless but despicable. And sad.

With profound regret, I must express that I am ashamed to be associated with Compass
Marketing, Inc., even though I founded the company in 1998 alongside David Boshea, reserving

a portion of Compass’s shares for him in recognition of his integral role. I served as a director of |

Compass Marketing with my brothers, Mike and John, from its founding in 1998 until 2019,
when the board of directors ceased to function. What Compass has become is unrecognizable
from the company we built.

Since 2019, I have reported to federal and judicial authorities that John White and his
cohorts, including several attorneys, have engaged in securities fraud under the names of
Tagnetics, Inc., Compass Marketing, Inc., and, more recently, through a new Wyoming entity
they jointly formed, Smart Retail, Inc. Their actions have involved the concealment of material
facts, false representations, and manipulation of corporate information across all companies.

They have repeatedly knowingly made materially false statements to numerous courts, including .

yours. Since my initial report, every action they have undertaken has been designed to conceal
their misconduct from regulatory and judicial scrutiny. I have served as a prosecutor for over
Case 1:21-cv-00309-ELH Document 338 __ Filed 06/06/25 Page 2 of 12

twenty years and, based on my experience and available information, estimate that the total value
of the securities fraud perpetrated through Compass Marketing, Inc., Tagnetics, Inc., and Smart
Retail, Inc. is approximately ten million dollars.

Concerning the present proceedings in Will County, I respectfully request that the Court
require both the attorney who filed the claim against the estate and a representative of Compass
Marketing, Inc. to appear personally and be called to declare under oath the basis of the claim
they allege to hold and their objection to Ashley serving as administrator of the estate.

I further wish to clarify that John White is not, and has not been, the Chief Executive
Officer of Compass Marketing, Inc. at least since his resignation in 2021 at the outset of the
federal litigation styled David Boshea v. Compass Marketing, Inc., pending in the United States
District Court for the District of Maryland. Support for this fact includes filings made with the
Virginia State Corporation Commission, in which John White formally updated corporate
records to reflect that he was no longer CEO!, and he made a contemporaneous update in
October 2021 to Compass Marketing’s public website, “welcoming back” Todd Mitchell as the .
“new CEO”. Despite this clear public record, the attorneys involved in the federal litigation, fully
aware of these facts, have concealed this information from the Court. They have also corruptly
allowed the Court to believe that Mike and I no longer own Compass shares, while they know
that is not true, :

Finally, I respectfully note the unfortunate irony that while their fraudulent conduct has
been revealed in Will County, John and his associates have, so far, managed to continue to
conceal their ongoing deception and misconduct in the Maryland federal case.

I submit this letter to ensure the Court has full, candid, and accurate information as it
considers the administration of David Boshea’s estate, and remain available should the Court
require any further information.

Respectfully,
pel q wrt

Daniel White

Cc: Alexandra R. Benigni, Esquire, Attorney for the Estate of David Boshea
Cindy Johnson, Esquire, Attorney for John White

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1 John stepped down as CEO in 2015 MMMM and avoid Tagnetics' shareholders and
creditors. Obviously, that was a more private action. But, since 2021, he certainly has no claim to

being “the CEO” of Compass.

Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page 3of12

Commonwealth of Virginia

State Corporation Commission

Office of the Clerk

Entity ID: 04979506

Filing Number: 2203074280671

Filing Date/Time: 03/07/2022 07:13 PM
Effective Date/Time: 03/07/2022 07:13 PM

Entity Name: COMPASS MARKETING, INC. Entity Type: Stock Corporation

Entity 1D: 04979506 Formation Date: 02/05/1998
Jurisdiction: VA
Status: Active

Total Shares: 1500

BUSINESS ENTITY THAT IS
RA Type: Entity RA Qualification: AUTHORIZED TO TRANSACT
BUSINESS IN VIRGINIA

Registered Office 4445 Corporation Ln Ste 264, Virginia

Name: Northwest Registered Agent LLC Address: Beach, VA, 23462 - 3262, USA

Locality: VIRGINIA BEACH CITY

oli 21403 - 3300, USA

|” No Officers: If the corporation does not have officers because an organizational meeting has not been held. |
| ™ No Directors: If the corporation does not have directors because (i) initial directors were not named in the articles of |
incorporation and an organizational meeting of the corporation has not been held or (ii) the board of directors has been |
eliminated by a written agreement signed by all of the shareholders, or by the adoption of provision in the articles of
|incorporation or bylaws that was approved by all of the shareholders. |
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105 Eastern Ave, Annapolis, |

| OWNER Yes JOHN DAVID WHITE MD, 21403-3300, USA
|Chiet Executive Officer No P TODD MITCHELL a i ie
Prete No JERRY CAIN =e)
| SVP & Corporate Controller No LUIS A FERNANDEZ uo eos oe |
| Chief Administrative Officer No ERIN SONGER aseeme. 2
| Chief Strategy Officer No CHRIS FEISS MD eee |
‘Chief Innovation Officer No J GUNNAR STAPLES 105 Easter Ave, Annapolis,

L

MD, 21403 - 3300, USA |

Date Signed: 03/07/2022 |

(er Selle

SVP & CORPORATE
LUIS A FERNANDEZ LUIS A FERNANDEZ CONTROLER
Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page 4of12

(/)

BLOG (HTTPS://COMPASSMARKETINGINC.NET/CATEGORY/BLOG/)

Year-End Wrap Up + Looking to 2022

POSTED ON: December 7, 2021 (https://compassmarketinginc.net/2021/12/)

We sat down with leaders at Compass Marketing to review the successes of 2021 and the anticipated
trends for 2022. We want to extend a special thanks to Keeley Smith, Graphic Designer, for
illustrating this blog post. To our clients, thank you for spending 2021 with us and we look
forward to partnering with you again in 2022!

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Marketir g as well as trends in

WELCOME BACK! WHAT ARE YOU MOST EXCITED ABOUT AFTER REJOINING COMPASS

MARKETING?
Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page5of12

Todd Mitchell: “I'm very passionate about our digital expertise. Whether it is for digital retailers or
brick and mortar retailers adapting to new consumer behaviors, |'m incredibly excited about the

advancement we've made in expertise and tools over the past two years.”

CAN YOU SHARE SOME AREAS OF COMPASS MARKETING, INCLUDING OFFERINGS AND
SERVICES OR EXPERTISE, THAT YOU ARE EXCITED ABOUT GROWING IN 2022?

Company culture is Todd’s priority heading into the new year. He wants to ensure Compass
Marketing employees are provided with “the tools and support to accelerate their personal and

professional growth.”

TM: “Even in this very technologically advanced world, people still do business with people, and |
think we have same of the industry’s best.”

ARE THERE ANY MARKETING TRENDS THAT YOU HAVE NOTICED RECENTLY THAT YOU FIND
INTERESTING?

Todd thinks consumer behaviors have permanently shifted. The bulk of consumer purchases are
made online, with the average number of online purchases rapidly increasing. Although retailers are
seeing sales increase, he thinks they are preparing for less in-store traffic.

TM: “| think we are in one of those historical moments of seismic change... It's an exciting time to be

a part of shifts in behavior like this.”

IS THERE SOMETHING YOU WOULD LIKE TO SHARE WITH OUR CLIENTS AS WE WRAP UP
THE YEAR?

Todd is humbled by the relationships Compass Marketing has fostered with its clients aver the years.
Clients rely on the extensive learnings Compass Marketing has acquired as a 20-year-old startup to
shorten the “learning cycle” in our fast-moving industry. Todd wants our clients to know we hear

them, we are committed fo them, and that we wake up every day to bring our very best.

TM: “Thank you for your partnership. Your tireless desire to grow faster only makes us better.”

We also sat down with other members of our leadership team. Jerry Cain, President & COO,
discussed trends in Specialty Channels. Julia Flood, Managing Director of Digital & Creative, shared

her thoughts on digital marketing. Maggie Stark, our Creative Director, spoke about new and ongoing

trends in creative and design.

CAN YOU PROVIDE A BRIEF REVIEW OF TRENDS YOU NOTICED IN 2021?

Case 1:21-cv-00309-ELH © Document 338 Filed 06/06/25 Page 6 Qt dea Lynn Chasteen

Will County Circuit Clerk
Twelfth Judicial Circuit Court
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IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIR Bate: 5/19/2025 11:30 AM
WILL COUNTY, ILLINOIS — IN PROBATE Envelope: 32760898
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Estate of }
)
DAVID JOHN BOSHEA, ) No. 2025PR000185
) .
Deceased. }

ASHLEY BOSHEA’S REPLY IN SUPPORT OF HER
AMENDED PETITION FOR LETTERS OF ADMINISTRATION

Ashley Boshea (“Ashley” or “Petitioner”) for her Reply in Support of her Amended
Petition for Letters of Administration seeking appointment as Independent Administrator of the
Estate of her father, David John Boshea (“Estate”), states as follows:

1. Background and Compass Marketing Inc.’s Obj ection.

1. Compass Marketing, Inc. (“Compass”), claiming to be a creditor of this Estate, filed
an Objection to Ashley Boshea being appointed as Administrator of the Estate of David John
Boshea on May 8, 2025 (the “Objection”). Compass’ alleged involvement in this Estate stems
from a potential claim Compass alleges it possesses related to a lawsuit in which David Boshea
was not named a party.

2. Compass asserts it holds a claim based on its allegation that David Boshea
presented a fraudulently signed agreement as valid (as indicated in its lawsuit styled as Compass
Marketing, Inc. v. Daniel White et al., Case Number: C-02-CV-230000601 filed in the Circuit
Court of Maryland for Anne Arundel County (the “Maryland State Lawsuit”). It also alleges
David Boshea’s death prevented it from filing a lawsuit.

3. First, Compass filed its Amended Complaint in the Maryland. State Lawsuit on
January 8, 2025, before David Boshea’s passing. Thus, its assertion that David Boshea’s passing

prevented it from naming him as a defendant is demonstrably false.
Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page 7 of 12

4. Second, to the extent Compass believes it holds a cause of action against David
Boshea or his Estate, the claim relates to David Boshea’s use of a signed severance apreement im
the lawsuit styled as David J. Boshea v. Compass Marketing, Ine., Case No. 1:21-CV-00309-ELH
filed in the United States District Court for the District of Maryland (the “Maryland Federal
Litigation”). Despite asserting someone forged the severance agreement, Compass never filed
what it alleges to be its claim as a counterclaim.

5. As Compass acknowledges, this Court needs fo appoint an administrator of this
Estate for the Maryland Federal Litigation to proceed. (See Objection, f 1). Yet it has not sought
the appointment of one as the statute provides:

Two avenues exist for a potential creditor seeking to file a claim relating to a
debt or obligation of a deceased individual. Where a probate estate is open and
a representative is appointed by the court, a potential creditor can file a claim in
the probate estate. In re Estate of Strong, 2020 IL App (34) 190158, J 19; 755
ILCS 5/18-1. Where a probate estate is not opened, however, Illinois law gives
a creditor the right to seek court appointment of a special representative of the
estate, against whom an action might be filed. 735 ILCS 5/13-209(b; see also Il.
S.Ct. R. 113@)

In re Est. of Topal, 2022 IL App (4th) 210613, { 16, 214 N.E3d 243, 247
6. Instead of allowing the Estate to move forward, by filing the Objection, Compass
prolonged the opening of this Estate by several months. It thus delayed the trial date set m the

Maryland Federal Litigation. Compass’ purpose in making its Objection amounts to an attempt to

delay or obstruct the Maryland Federal Litigation rather than facilitating the proper administration

of this Estate. See April 3, 2025 Letter from District Court Judge Ellen Lipton Hollander, page 3,
attached as Exhibit A.
7. Moreover, the proper place to bring Compass’ purported claim should have been in

the Maryland Federal Litigation. Compass had the opportunity fo file a counterclaim since its

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Case 1:21-cv-00309-ELH Document 338 — Filed 06/06/25 Page 8 of 12

counsel filed an affirmative defense on May 6, 2021 raising what it now views as its claim against
the Estate.

8. Since four years have passed, Compass claims the status of being a creditor is
dubious. In the Maryland State Lawsuit, Compass alleges it holds a fraud claim; however,
Maryland’s statute of limitations for such claims is three years. Md. Code Ann., Cts. & Jud. Proc.
§ 5-101. Whatever claim Compass believes it had accrued when it knew of its existence in 2021.
See Estate of Adams v. Cont'l Ins. Co., 233 Md. App. 1, 161 A.3d.70, 72 (2017). Due to the passage
of time, whatever cause of action might have existed has expired.

9. Given the failure to file a counterclaim, David Boshea had and has no reason to
believe Compass holds a valid claim.

10. | Importantly, Compass lacks standing to bring any objection with regard to the
Petition fo open this Estate. See In re Trost’ Estate, 292 Ill. App. 60, 63 (3rd Dist. 1937) (finding
that a decedent’s potential debtors have no right to petition for the removal of the administrator of
the decedent’s estate}.

11. _ In its Objection, Compass claims to be a creditor of the Estate. Once the Estate is

“opened, Compass may file its claim with the Court. 755 ILCS 5/18-1, and the Administrator will
contest it based on the law recited above. The Objection is not the proper method for Compass fo
bring its claim.

12. Because Compass lacks standing to object to Ashley’s appointment as Independent
Administrator, and because Compass’ Objection is for the sole purpose of delaying the Maryland
Federal Litigation, this Court should strike Compass’ Objection and appoint Ashley as Independent

Administrator.

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Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page9of12

Il. Ashley’s Petition for Letters of Administration is Proper, aud Ashley Meets the
Statutory Requirements to Serve as an Independent Administrator.

13.‘ The assertion that Gregory Jordan, an attorney, jumped ahead and filed a notice
before Ashley’s appointment has no bearing on whether she should sexve as the administrator.
Compass does not explain why, even if she knew of Gregory Jordan’s actions, she could not rely
on their propriety and his advice.

14. Ashley has filed a proper Petition for Letters of Administration and meets the
statutory requirements to serve as an Independent Administrator.

15. As reflected in the Petition, the Decedent died unmarried and was survived by his
two daughters, Ashley and Stephanie Boshea. Ashley and Stephanie are the only heirs to this
Estate. Stephanie signed a waiver form indicating her support for Ashley’s appointment. Further,
Ashley, as the Decedent’s daughter, has a preference to serve as the Independent Administrator.
755 ILCS 5/9-3(¢).

16. As required by the Illinois Probate Act and the form provided by the Circuit Court
of the Twelfth Tudicial Circuit, Ashley listed the approximate value of the Decedent’s Estate on
her Petition. See 755 ILCS 5/9-4(c) (“The petition shall state, ifknown:. . . the approximate value
of the decedent’s real and personal estate in this State”).

17. Because Compass has no actual claim and no right to object to the appointment of
Ashley as Independent Administrator of her father’s Estate, and because Ashley meets the statutory

requirements to serve as Independent Administrator, this Court should appoint Ashley as the

Independent Administrator of the Estate of David John Boshea.

1 Contrary to Compass’ assertions - unsupported by any law or case law - Ashley was not required to include
assets not currently held in the Estate on her Petition. Thus, the speculative and undetermined proceeds of
ihe Maryland Federal Litigation were properly excluded from the Petition.

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Case 1:21-cv-00309-ELH Document 338 Filed 06/06/25 Page 10 of 12

WHEREFORE, the Petitioner, Ashley Boshea, respectfully requests that this Court deny
Compass Marketing, Inc.’s Objection to Ashley Boshea Being Appointed as Administrator of the
Estate of David John Boshea, appoint Ashley as Independent Administrator of the Estate of David

John Boshea, and for any other and further relief this Court deems just.

Dated: May 19, 2025 Respectfully submitted,
ASHLEY BOSHEA

fs/ Alexandra R. Benigni
One of Her Attomeys

Alexandra R. Benigni (6335557)
abenigni@agdglaw.com

Aronberg Goldgehn Davis & Garmisa
301 South County Farm Road, Suite A
Wheaton, IL 60187

(312) 755-3141
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~ Post Office Box 1760
Leonardtown, MD 20650,

United States District Court
District of Maryland
Chambers of Judge Hollander
101 West Lombard Street —

Baltimore, MD 21201
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Page 12 of 12

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